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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TENNESSEE
                                  WESTERN DIVISION


  FEDERAL EXPRESS CORPORATION,                    )
  and FEDEX GROUND PACKAGE                        )
  SYSTEM, INC.,                                   )
                                                  )
         Plaintiffs,
                                                           Case No. 2:21-cv-02163-JPM-atc
  v.                                              )
                                                  )
  UNGER FABRIK, LLC, JOHN YAMADA,                 )
  AJAY AGARWAL, VIJAY AGARWAL,                    )
  EZ MAILING SERVICES, INC., and                  )
  UNIVERSAL DELIVERY SOLUTIONS,
  LLC,

         Defendants.


                                  ORDER OF DISMISSAL



       Before the Court is the Notice of Dismissal with Prejudice, filed by Plaintiffs on June 6,

2022. (ECF No. 45.) Accordingly, pursuant to the Notice of Dismissal and Federal Rule of

Civil Procedure 41(a)(1)(A)(i), all claims against Defendant EZ Mailing Services, Inc. in

connection with this matter are hereby DISMISSED WITH PREJUDICE. Each party will

bear their own attorneys’ fees and costs.


       IT IS SO ORDERED, this 6th day of June, 2022.

                                                        /s/ Jon P. McCalla
                                                      JON P. McCALLA
                                                      UNITED STATES DISTRICT JUDGE
